Case 24-01637-CMG            Doc 109      Filed 03/17/25 Entered 03/17/25 21:39:25                       Desc Main
                                         Document     Page 1 of 2



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

     Howard J. Kaplan (admitted pro hac vice)
     Michelle A. Rice (admitted pro hac vice)
     KAPLAN RICE LLP
     142 W. 57th Street, Suite 4A
     New York, NY 10019
     Tel. (212) 235-0300
     Attorneys for Defendant Ari Horowitz

     John Jureller, Jr.
     (NJ Bar No. 056361993)
     Klestadt Winters Jureller Southard & Stevens, LLP
     200 West 41st Street, 17th Floor
     New York, NY 10036.
     Telephone: 212-679-5315
     Email: jjureller@klestadt.com
     Attorneys for Defendants Ari Horowitz and Hudson Palm, LLC
                                                                                 -----------------------------------------
     In re:
                                                                                 Chapter 11
     1 THRASIO ONE, INC.,
                                                                                 Case No. 24-11850-CMG
                              Reorganized Debtor 1
                                                                                 (Jointly Administered)
     META ADVISORS, LLC, solely in its capacity as Trustee of the                --------------------------------------
     Thrasio Legacy Trust,
                                                                                 Adv. Pro. No. 24-01637-CMG
                                     Plaintiff,
                    v.

     JOSHUA SILBERSTEIN; CARLOS CASHMAN; DANIEL
     BOOCKVAR; JOSEPH FALCAO; MOUNIR OUHADI; ADITYA
     RATHOD; ARI HOROWITZ; EVERYTHING’S COMING UP
     MILLHOUSE, LLC; CASHMAN FAMILY INVESTMENT II, LLC;
     HUDSON PALM LLC; AND YARDLINE CAPITAL CORP.,

                                     Defendants.


      NOTICE OF MOTION BY DEFENDANTS ARI HOROWITZ AND HUDSON PALM
                     LLC TO DISMISS PLAINTIFF’S COMPLAINT



 1
          The last four digits of Reorganized Debtor’s tax identification number are 4771. The Reorganized Debtor’s
 service address for purposes of this chapter 11 case is 85 West Street, 3rd Floor, Walpole, MA, 02081.


 {00130468.1}
Case 24-01637-CMG        Doc 109    Filed 03/17/25 Entered 03/17/25 21:39:25         Desc Main
                                   Document     Page 2 of 2



 TO: ALL PARTIES IN INTEREST LISTED ON THE CERTIFICATION OF SERVICE.

        PLEASE TAKE NOTICE that on June 24, 2025, at 10:00 a.m. or as soon thereafter as

 counsel may be heard, the undersigned shall move before the Honorable Christine M. Gravelle,

 United States Bankruptcy Court Judge for the District of New Jersey, Clarkson S. Fisher U.S.

 Courthouse, 402 East State Street, Trenton, NJ 08608, on behalf of defendants Ari Horowitz and

 Hudson Palm, LLC, for an Order dismissing plaintiff’s Complaint against them.


        PLEASE TAKE FURTHER NOTICE that, as provided in the Joint Stipulation on

 Motion for an Extension of Time (ECF No. 94), any opposition to this motion shall be filed and

 served on or before May 28, 2025, and any reply in support of this motion shall be filed on or

 before June 16, 2025.


 Executed on: March 17, 2025                               /s/ John E. Jureller, Jr.
                                                          John E. Jureller, Jr.
                                                          (NJ Bar No. 056361993)
                                                          Klestadt Winters Jureller Southard &
                                                          Stevens, LLP
                                                          200 West 41st Street, 17th Floor
                                                          New York, NY 10036.
                                                          Telephone: 212-679-5315
                                                          Email: jjureller@klestadt.com
                                                          Local Counsel for Defendants Ari
                                                          Horowitz and Hudson Palm, LLC

                                                          Howard J. Kaplan (admitted pro hac
                                                          vice)
                                                          Michelle A. Rice (admitted pro hac
                                                          vice)
                                                          KAPLAN RICE LLP
                                                          142 W. 57th Street, Suite 4A
                                                          New York, NY 10019
                                                          Tel. (212) 235-0300
                                                          Attorneys for Defendant Ari
                                                          Horowitz




 {00130468.1}
